         Case 3:14-cv-03238-MMC Document 114 Filed 04/29/16 Page 1 of 7



1    ERIC B. KINGSLEY, Bar No. 185123
     eric@kingsleykingsley.com
2    LIANE KATZENSTEIN LY, Bar No. 259230
     liane@kingsleykingsley.com
3    KINGSLEY & KINGSLEY, APC
     16133 Ventura Boulevard, Suite 1200
4    Encino, CA 91436
     Telephone: (818) 990-8300
5    Facsimile: (818) 990-2903
6    JOSHUA M. DAVID (Admitted Pro Hac Vice)
     jdavid@davidkampfrank.com
7    NICHOLAS A. NUNES (Admitted Pro Hac Vice)
     nanunes@davidkampfrank.com
8    DAVID, KAMP & FRANK, L.L.C.
     739 Thimble Shoals Boulevard, Suite 105
9    Newport News, VA 23606
     Telephone: (757) 595-4500
10   Facsimile: (757) 595-6723
11   Attorneys for Plaintiffs
     NICHOLAS SELBE, DANIEL GHYCZY,
12   MAKAELA O’CONNELL, and ANNIYA LOUIS,
     on behalf of themselves and all others similarly
13   situated
14   Counsel Continued on Next Page
15
                             UNITED STATES DISTRICT COURT
16
                          NORTHERN DISTRICT OF CALIFORNIA
17
     NICHOLAS SELBE, DANIEL               Case No. 3:14-cv-3238-MMC
18   GHYCZY, MAKAELA
     O’CONNELL, and ANNIYA                [PROPOSED] ORDER GRANTING:
19   LOUIS on behalf of themselves and    (1) MOTION FOR FINAL APPROVAL
     others similarly situated,           OF CLASS AND COLLECTIVE
20                                        ACTION SETTLEMENT; AND
                     Plaintiffs,          (2) PLAINTIFFS’ AND CLASS
21                                        COUNSEL’S MOTION FOR AWARD
           v.                             OF ATTORNEYS’ FEES, LITIGATION
22                                        COSTS, AND ENHANCEMENT
     PEAK CAMPUS MANAGEMENT,              AWARDS
23   LLC,
24                   Defendant.
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28
     ORDER GRANTING MOTION FOR FINAL
     APPROVAL OF CLASS AND COLLECTIVE                          Case No. 3:14-cv-3238-MMC
     ACTION SETTLEMENT
         Case 3:14-cv-03238-MMC Document 114 Filed 04/29/16 Page 2 of 7

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2    Continued From Previous Page:
3    ELIZABETH STAGGS WILSON, Bar No. 183160
     estaggs-wilson@littler.com
4    LITTLER MENDELSON, P.C.
     633 West 5th Street, 63rd Floor
5    Los Angeles, CA 90071
     Telephone: (213) 443-4300
6    Facsimile: (213) 443-4299
7    SHANNON R. BOYCE, Bar No. 229041
     sboyce@littler.com
8    FATEMEH MASHOUF, Bar No. 288667
     fmashouf@littler.com
9    LITTLER MENDELSON, P.C.
     2049 Century Park East, 5th Floor
10   Los Angeles, CA 90067
     Telephone: (310) 712-7304
11   Facsimile: (310) 553-5583
12   Attorneys for Defendant
     PEAK CAMPUS MANAGEMENT, LLC
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15
16
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28   ORDER GRANTING MOTION FOR FINAL
     APPROVAL OF CLASS AND COLLECTIVE                          Case No. 3:14-cv-3238-MMC
     ACTION SETTLEMENT
         Case 3:14-cv-03238-MMC Document 114 Filed 04/29/16 Page 3 of 7

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2                                            ORDER
3          Plaintiff’s unopposed Motion for Final Approval of Class and Collective Action
4    Settlement and Plaintiffs’ and Class Counsel’s Motion for Award of Attorneys’ Fees,
5    Litigation Costs, and Enhancement Awards (the “Motions”) came on regularly for
6    hearing on April 29, 2016, at 9:00 a.m., in the United States District Court for the
7    Northern District of California, the Honorable Maxine M. Chesney presiding. All
8    parties were represented by counsel.
9          Having considered the memoranda and declarations, oral arguments of counsel,
10   and the relevant statutory and case law, the Court GRANTS Plaintiff’s and Class
11   Counsels’ Motions and orders and finds as follows:
12         1.     The Court FINDS that no member of the Rule 23 class or the FLSA
13   collective action has objected to the settlement.
14         2.     The Court FINDS that the settlement is fair and reasonable, and,
15   therefore, the Motion for Final Approval of Class and Collective Action Settlement is
16   GRANTED.
17         2.     The Parties’ proposed Stipulated Settlement Agreement of Class Action
18   Claims (the “Settlement”), which the Court preliminarily approved with certain
19   modifications as set forth in the Order Regarding Motion for Preliminary Approval of
20   Class and Collective Action Settlement (ECF No. 108), is APPROVED as so
21   modified.
22         3.     The following Class and Collective Action is finally certified for
23   settlement purposes only pursuant to Federal Rules of Civil Procedure 23 and
24   29 U.S.C. § 216(b):
25         All persons who have submitted a “Consent to Join Collective Action”
           in the instant Lawsuit prior to June 1, 2015 (“Opt-In Class Members”)
26         and all individuals employed in the State of California between
27         January 1, 2011 and August 1, 2014 who were employed in any of the
           following “Covered Positions”: All Star; Community Advisor;
28   ORDER GRANTING MOTION FOR FINAL
     APPROVAL OF CLASS AND COLLECTIVE                              Case No. 3:14-cv-3238-MMC
     ACTION SETTLEMENT
         Case 3:14-cv-03238-MMC Document 114 Filed 04/29/16 Page 4 of 7

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2          Community Assistant; Leasing All-Star; Work for Rent Leasing All-
3          Star; or any combination thereof (“California Class Members”)
           (collectively, “Class Members”).
4
5          4.     The appointment of Plaintiffs’ attorneys, Joshua M. David of

6    David, Kamp & Frank, L.L.C. and Eric B. Kingsley of Kingsley & Kingsley, APC as

7    Class Counsel is confirmed.

8          5.     The appointment of Nicholas Selbe, Daniel Ghyczy, Makaela O’Connell,

9    and Anniya Louis as Class Representatives is confirmed.

10         6.     The appointment of Simpluris as the Settlement Administrator is

11   confirmed.

12         7.     Under Federal Rules of Civil Procedure 23(h) and 54(d) and Section 216

13   of the FLSA, 29 U.S.C. § 216(b), Plaintiffs and Class Counsel have moved for an

14   award of attorneys’ fees, enhancement awards, and litigation costs.

15         8.     This class action and collective action settlement resolves a wage-and-

16   hour dispute on a class-wide basis.

17         9.     The Court’s December 30, 2015 Order granted preliminary approval of

18   the Settlement, pursuant to which Plaintiffs and Class Counsel requested payment

19   from the Settlement Amount of attorneys’ fees of thirty percent (30%) of the

20   Settlement Amount, equating to $240,000.00, litigation costs of $24,473.43, and

21   enhancement awards for the Class Representatives totaling $24,000.00 to be allocated

22   $8,000.00, $8,000.00, $4,000.00, and $4,000.00, respectively.

23         10.    Rule 23(h) provides that, “[i]n a certified class action, the court may

24   award reasonable attorney’s fees and nontaxable costs that are authorized by . . . the

25   parties’ agreement.” The Rule further provides that “[a] claim for an award must be

26   made by motion under Rule 54(d)(2),” notice of which must be “directed to class

27   members in a reasonable manner” and that the Court “must find the facts and state its

28   legal conclusions under Rule 52(a).” Fed. R. Civ. P. 23(h)(1) & (3). In turn,
     ORDER GRANTING MOTION FOR FINAL
     APPROVAL OF CLASS AND COLLECTIVE ACTION                          Case No. 3:14-cv-3238-MMC
     SETTLEMENT
         Case 3:14-cv-03238-MMC Document 114 Filed 04/29/16 Page 5 of 7

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2    Rule 54(d)(2) requires a claim for fees to be made by motion, and specifies its timing
3    and content, including, in relevant part, “the grounds entitling the movant to the
4    award” and “the amount sought.” Fed. R. Civ. P. 54(d)(2)(B).
5          11.    All Class Members were advised of Class Counsel’s request for an award
6    of fees and costs in the Court-approved Class Settlement Notices. As directed by the
7    Court, on February 9, 2016, Plaintiffs and Class Counsel filed a separate Motion for
8    Award of Attorneys’ Fees, Litigation Costs, and Enhancement Awards (ECF No.
9    110). In the Class Settlement Notices, all Class Members were advised how to obtain
10   a copy of the Motion either from PACER or the Settlement Administrator’s website
11   where the Motion is readily available.
12         12.    When “the settlement produces a common fund for the benefit of the
13   entire class, courts have discretion to employ either the lodestar method or the
14   percentage-of-recovery method” of calculating attorneys’ fees awards. In Re Bluetooth
15   Headset Prods. Liab. Litig., 654 F.3d 935, 942 (9th Cir. 2011).
16         13.    Under the percentage-of-the-fund method, it is appropriate to base the
17   percentage calculation on the gross settlement amount. See generally Boeing v.
18   Gemert, 444 U.S. 472, 479 (1980); Williams v. MGM-Pathe Commc’ns Co., 129 F.3d
19   1026, 1027 (9th Cir. 1997).
20         14.    The Court adopts the percentage-of-the-fund approach here and finds that
21   the attorneys’ fees and litigation costs requested are reasonable. The fee award of
22   thirty percent (30%) of the fund is within the range of reasonable percentage fee
23   awards in this Circuit. Six (6) Mexican Workers v. Arizona Citrus Growers, 904 F.2d
24   1301, 1311 (9th Cir. 1990) (stating that the Ninth Circuit has historically considered
25   twenty-five percent of the common fund a “benchmark” figure for attorneys’ fee
26   awards); Knight v. Red Door Salons, Inc., 2009 U.S. Dist. LEXIS 11149, at *17, 2009
27   WL 248367 (N.D. Cal. 2009) (stating the exact percentage varies depending on the
28   facts of the case, and in “most common fund cases, the award exceeds that
     ORDER GRANTING MOTION FOR FINAL
     APPROVAL OF CLASS AND COLLECTIVE ACTION                           Case No. 3:14-cv-3238-MMC
     SETTLEMENT
         Case 3:14-cv-03238-MMC Document 114 Filed 04/29/16 Page 6 of 7

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2    benchmark.”); Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir.
3    1989) (“Ordinarily, however, such fee awards range from 20 percent to 30 percent of
4    the fund created.”).
5          15.    A lodestar cross-check reveals that the attorneys’ fees requested, 30% of
6    the common fund amount, equating to $240,000.00, is substantially less than the
7    lodestar amount of $449,195.00. The Court finds that Class Counsel’s hours and
8    hourly rates are reasonable, thus, the requested fee award results in a “negative
9    multiplier” and the lodestar cross-check supports a finding that the requested
10   percentage of the fund, 30%, is both fair and reasonable.
11         16.    Litigation costs are routinely awarded in addition to attorneys’ fees. See
12   Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir. 1994); Odrick v. UnionBanCal Corp.,
13   2012 U.S. Dist. LEXIS 171413, at *17, 2012 WL 6019495 (N.D. Cal. Dec. 3, 2012);
14   Knight v. Red Door Salons, Inc., 2009 U.S. Dist. LEXIS 11149, at *20 (N.D. Cal. Feb.
15   2, 2009). Class Counsel have advanced all costs incurred in this case and request
16   reimbursement from the common settlement fund in the total amount of $24,473.43,
17   including $23,223.43 in costs incurred and $1,250 in anticipated costs. Class Counsel
18   has provided a detailed itemization of these costs, and the Court FINDS that these
19   costs are reasonable.
20         17.    The Court has the discretion to award enhancement awards, or incentive
21   fees, to named class representatives in a class action suit. Van Vranken v. Atl.
22   Richfield Co., 901 F.Supp. 294, 299 (N.D. Cal. 1995).          The Court FINDS that
23   enhancement awards to the Class Representatives in this case are justified.
24         18.    Accordingly, Plaintiffs’ and Class Counsel’s Motion for Award of
25   Attorneys’ Fees, Litigation Costs, and Enhancement Awards is GRANTED. Class
26   Counsel is awarded a fee of thirty percent (30%) of the Settlement Amount, equating
27   to $240,000.00, and litigation costs of $24,473.43. The Class Representatives are
28   awarded total Enhancement Awards of $24,000.00, to be allocated $8,000.00 each to
     ORDER GRANTING MOTION FOR FINAL
     APPROVAL OF CLASS AND COLLECTIVE ACTION                            Case No. 3:14-cv-3238-MMC
     SETTLEMENT
         Case 3:14-cv-03238-MMC Document 114 Filed 04/29/16 Page 7 of 7

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2    Nicholas Selbe and Daniel Ghyczy and $4,000.00 each to Makaela O’Connell and
3    Anniya Louis.
4          19.    The Settlement Administrator shall distribute the Settlement Amount to
5    the Class Members, Class Counsel, the Class Representatives, and the LWDA as
6    specified in the Settlement Agreement and this Order.
7          IT IS SO ORDERED.
8
     Dated: April 29, 2016
9                                                       MAXINE M. CHESNEY
                                                       United States District Judge
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28   ORDER GRANTING MOTION FOR FINAL
     APPROVAL OF CLASS AND COLLECTIVE ACTION                        Case No. 3:14-cv-3238-MMC
     SETTLEMENT
